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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

 PLUMBERS AND PIPEFITTERS LOCAL 502                         )
 HEALTH AND WELFARE TRUST FUND;                             )
 PLUMBERS AND PIPEFITTERS LOCALS 502 & 633                  )
 PENSION TRUST FUND;                                        )
 PLUMBERS AND PIPEFITTERS LOCAL 502 JOINT                   )
 EDUCATIONAL & TRAINING FUND;                               ) Civil Case No. 3:21-cv-155-RGJ
 MECHANICAL INDUSTRY PROMOTION FUND OF                      )
 KENTUCKY;                                                  ) (Electronically Filed)
 PIPING INDUSTRY COOPERATIVE OF                             )
 KENTUCKIANA; and                                           )
 PLUMBERS, PIPEFITTERS AND SERVICE                          )
 TECHNICIANS LOCAL 502,                                     )
                                                            )
                       Plaintiffs,                          )
                                                            )
        vs.                                                 )
                                                            )
 HONEYWELL INTERNATIONAL, INC.                              )
 A Delaware Corporation,                                    )
                                                            )
                       Defendant.                           )

                   AMENDED NOTICE OF VOLUNTARY DISMISSAL

       NOW COME the Plaintiffs, the PLUMBERS AND PIPEFITTERS LOCAL 502 HEALTH

AND WELFARE TRUST FUND et al., by and through their counsel, Dennis Johnson of

JOHNSON & KROL, LLC, and hereby dismiss this action pursuant to Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure, as follows:

       WHEREAS, on February 24, 2022, the Plaintiffs filed their Notice of Voluntary Dismissal

with the Court [DE 21]; and

       WHEREAS, the Notice of Voluntary Dismissal mistakenly indicated that the dismissal was

without prejudice [DE 21].

       NOW THEREFORE, the Plaintiffs hereby amend their prior dismissal to dismiss this

matter with prejudice pursuant to Rule (a)(1)(A)(i) of the Federal Rules of Civil Procedure.


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                                  Respectfully submitted,

                                  /s/ Dennis R. Johnson
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on today’s date, February 25, 2022, he served a copy
of the Amended Notice of Voluntary Dismissal to the Defendant via email at the address set
forth below.

       Honeywell International, Inc.
       c/o Mr. Tom Gies, Attorney
       Crowell & Moring LLP
       1001 Pennsylvania Avenue NW
       Washington, DC 20004
       tgies@crowell.com


                                             /s/ Dennis R. Johnson
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